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Attendance Record |

MDL-2179 Oil Spill by the Oil Rig
~ “Deepwater Horizon”

Status Conference—December 17, 2010

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Attendance Record

MDL-2179 Oil Spill by the Oil Rig

“Deepwater Horizon”

Status Conference-December 17, 2010

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Telephone Client Name

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Attendance Record

MDL-2179 Oil Spill by the Oil Rig
“Deepwater Horizon”

Status Conference-December 17, 2010

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Attendance Record

MDL-2179 Oil Spill by the Oil Rig
“Deepwater Horizon”

Status Conference—December 17, 2010

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Attendance Record

MDL-2179 Oil Spill by the Oil Rig

“Deepwater Horizon”

Status Conference—December 17, 2010

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Attendance Record

MDL-2179 Oil Spill by the Oil Rig
“Deepwater Horizon”

Status Conference-December 17, 2010

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Attendance Record

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“Deepwater Horizon”

Status Conference-December 17, 2010

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Case 2:10-md-02179-CJB-DPC Document 905-1 Filed 12/17/10 Page 8 of 10

Attendance Record

MDL-2179 Oil Spill by the Oil Rig
“Deepwater Horizon”

Status Conference—December 17, 2010

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OIL SPILL STATUS CONFERENCE

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BELL, JULIE
BENNETT, MARY
BONO, JOHN
BOWLER, EMILY
CHRISTINA, SALVADORE
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COUNSEL FOR DEFENDENT

LEWIS KULLMAN STERBCHOW & ABRAMSON
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